Case 1:15-cr-00095-WFK Document 404 Filed 09/12/19 Page 1 of 3 PageID #: 2092
                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
DMP/DKK/JMH                                          271 Cadman Plaza East
F.#2014R01413                                        Brooklyn, New York 11201



                                                     September 12, 2019


By Hand Delivery and ECF

Honorable William F. Kuntz II
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Dilkhayot Kasimov
                      Criminal Docket No: 15-95 (S-3) (WFK)

Dear Judge Kuntz:

               The government respectfully submits this letter in opposition to the defendant
Dilkhayot Kasimov’s request that the government disclose every report written by Special
Agent Ryan Singer in connection with this case, regardless of its connection to the subject
matter of his testimony.

I.     Background

               The government has advised defense counsel that it intends to call Agent
Singer as a witness to testify about the arrest of co-defendant Akhror Saidakhmetov at John
F. Kennedy International Airport in the early morning of February 25, 2015, and the search
incident to arrest of Saidakhmetov, which recovered – among other items – $1600 in cash on
his person and various travel documents. The government will prove through other
witnesses and evidence that the $1600 was provided to Saidakhmetov by the defendant at
JFK Airport late in the evening on February 24, 2015. Saidakhmetov’s arrest and search
lasted less than one hour. The government also advised defense counsel that Agent Singer
was involved in other portions of the investigation, but not as to which he will testify at trial.

             Pursuant to 18 U.S.C. § 3500, the government has turned over prior statements
of Agent Singer that relate to the arrest of Saidakhmetov and the recovery of items from
Saidakhmetov following his arrest.
Case 1:15-cr-00095-WFK Document 404 Filed 09/12/19 Page 2 of 3 PageID #: 2093



               The defendant has requested that the government provide, pursuant to Section
3500, all other reports Agent Singer has written about this case, regardless of its connection
to the subject matter of Agent Singer’s testimony.

II.    Discussion

                Section 3500(b) provides that, after a witness called by the government has
testified on direct examination, the court shall order (upon a motion of the defendant) that the
government produce any statement of the witness in the possession of the government
“which relates to the subject matter as to which the witness has testified.” That limitation in
Section 3500(b) – by its plain statutory terms – cabins the government’s disclosure to
statements relating to the substance of the witness’s testimony, not to any matter relating to
the trial in which the witness is called to testify or the investigation of a defendant.
                Thus, in a recent summary order (signifying the well-settled nature of this line
of case law), the Second Circuit held that statements on the same general subject matter as a
witness’s testimony do not relate to the subject matter as to which the witness has testified
unless “they deal with the specific ‘events and activities testified to on direct examination.’”
See United States v. Snyder, 740 Fed. App’x 727, 728 (2d Cir. 2018) (quoting United States
v. Cardillo, 316 F.2d 606, 615 (2d Cir. 1963) (“if the statement . . . does not deal with the
events and activities testified to on direct examination, it is not producible under the [Jencks]
Act”)); see also United States v. Covello, 410 F.2d 536, 546 (2d Cir. 1969) (“the information
the trial judge withheld was not sufficiently relative to the subject matters the witnesses had
testified about to fall within limits of demandable material Congress had carefully delineated
in 18 U.S.C. § 3500”).
                Based on this line of case law, the Second Circuit has repeatedly upheld
determinations by district courts that the government was not required to disclose materials
that did not relate to the “subject matter” of the witness’s testimony although they did in
some way relate to the case at issue. See, e.g., United States v. James, 609 F.2d 36, 48
(2d Cir. 1979) (no error where government did not disclose grand jury testimony of a
witness, even though the witness mentioned the grand jury appearance in his trial testimony,
because such reference was not a “sufficient basis to conclude that the [grand jury] transcript
related to the subject matter as to which he testified” when the subject matter of the witness’s
trial testimony did not implicate anything stated to the grand jury (internal quotation marks
and parenthesis omitted); United States v. Mayersohn, 413 F.2d 641, 643 (2d Cir. 1969)
(upholding district court ruling denying a request for all statements relating to the defendant
and a confederate because appellant “reads [Section 3500] too broadly in arguing that it
entitles him to” such materials); United States v. Dickerson, 347 F.2d 783, 784 (2d Cir.
1965) (holding that six reports authored by government agents were properly withheld from
the defendant because “they bore no relation to the subject matter of the agents’ direct
testimony”); United States v. Simmons, 281 F.2d 354 (2d Cir. 1960) (approving trial court
decision that a statement by a bank officer about his actions immediately prior to a robbery
and his general duties was not discoverable when he testified only about the events of the
robbery).

                                                2
Case 1:15-cr-00095-WFK Document 404 Filed 09/12/19 Page 3 of 3 PageID #: 2094



               Agent Singer’s testimony is similarly narrow in scope, and the government has
already produced (and will continue to produce, to the extent the government identifies any
additional relevant material) Agent Singer’s Section 3500 material related to the arrest of
Saidakhmetov at JFK Airport on February 25, 2015, and the search incident to arrest that
discovered the $1600 in cash and travel documents. The defendant’s efforts to stretch
Section 3500 beyond the clear limitations set forth in the statute and in case law should be
rejected.
III.   Conclusion
               For the reasons set forth above, the Court should deny the defendant’s request
for disclosure of every report written by Agent Singer in connection with this case.
                                                  Respectfully submitted,

                                                  RICHARD P. DONOGHUE
                                                  United States Attorney

                                           By:       /s/
                                                  Douglas M. Pravda
                                                  David K. Kessler
                                                  J. Matthew Haggans
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000


cc:    Clerk of Court (WFK) (by ECF)
       Elizabeth Macedonio, Esq., counsel for defendant Kasimov (by ECF)
       Kelley Sharkey, Esq., counsel for defendant Kasimov (by ECF)
       Abraham Rubert-Schewel, Esq., counsel for defendant Kasimov (by ECF)




                                              3
